        Case 4:20-cv-01107 Document 28 Filed on 10/27/20 in TXSD Page 1 of 1


UNITED STATES DISTRICT COURT                       SOUTHERN DISTRICT OF TEXAS

                                  HOUSTON DIVISION

Betty Chenier, et al.
   Plaintiff(s),

v.                                                       Case No. 4:20−cv−01107

Union Pacific Railroad Co.
  Defendant(s).



                             NOTICE OF SETTING
                              PLEASE TAKE NOTICE

                              HEARING: Motion Hearing
                        RE: Motion for Leave to File Document − #22
                                    DATE:    11/4/2020
                                    TIME:    02:30 PM
                                HAS BEEN SET BEFORE
                               JUDGE KEITH P. ELLISON
                             UNITED STATES COURTHOUSE
                              515 RUSK COURTROOM 3−A
                                HOUSTON, TEXAS 77002.


          ALL PARTIES MAY APPEAR BY TELEPHONE BY CALLING IN
             ON THE COURT'S DIAL−IN NUMBER AT 713−250−5238.
        ENTER CONFERENCE ID: 45238, FOLLOWED BY PASSWORD: 13579.




David J. Bradley, Clerk                                            Date: October 27, 2020
By Deputy Clerk, A. Rivera
